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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG           *           MDL No. 2179
      “DEEPWATER HORIZON” in the          *
      GULF OF MEXICO, on                  *
      APRIL 20, 2010                      *           SECTION: J
                                          *
Case Relates to:                          *
2:10-CV-08888                             *
                                          *           JUDGE BARBIER
                                          *           MAGISTRATE SHUSHAN
_____________________________________________________________________________

                                            ORDER

       Considering the Motion of the Claimant / Plaintiff to Dismiss without Prejudice Pursuant

to Rule 41 (a)(2):

       IT IS HEREBY ORDERED that all claims of the following Claimant / Plaintiff are

dismissed without Prejudice.

       Document No.            Cause No.           Plaintiff/Claimant

   1. 57332                    CA-10-8888          Hellmich Electric, Inc.


New Orleans, Louisiana, this the ____ day of ____________, 2011.



                                            _________________________________________
                                            UNITED STATES DISTRICT COURT JUDGE
